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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


 AMAZON.COM, INC. and AMAZON
 DATA SERVICES, INC.,

                Plaintiffs,

        v.

 WDC HOLDINGS LLC dba NORTHSTAR
 COMMERCIAL PARTNERS; BRIAN                                CASE NO. 1:20-CV-484-LO-TCB
 WATSON; STERLING NCP FF, LLC;
 MANASSAS NCP FF, LLC; NSIPI
 ADMINISTRATIVE MANAGER; NOVA
 WPC LLC; WHITE PEAKS CAPITAL LLC;
 VILLANOVA TRUST; CASEY
 KIRSCHNER; ALLCORE DEVELOPMENT
 LLC; FINBRIT HOLDINGS LLC;
 CHESHIRE VENTURES LLC; CARLETON
 NELSON; JOHN DOES 1-20,

                Defendants.


                                WAIVER OF ORAL ARGUMENT

        Pursuant to Local Civil Rule 7(E), Plaintiffs Amazon.com, Inc. and Amazon Data Services,

 Inc. hereby waive oral argument on their Motion To Expedite Consideration of Plaintiffs’ Motion

 To Hold Defendants Brian Watson & WDC Holdings In Civil Contempt, and respectfully request

 that the Motion to Expedite be granted on the papers. In the event the Court wishes to hear from

 the parties, or Defendants request a hearing on the motion, before the Court rules and sets a briefing

 schedule, Plaintiffs will make themselves available at the Court’s convenience on Friday,

 October 1.

 Dated: September 30, 2021              Respectfully submitted,
                                        s/ Michael R. Dziuban
                                        Elizabeth P. Papez (pro hac vice)
                                        Patrick F. Stokes (pro hac vice)
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                              Services, Inc.




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on September 30, I will electronically file the foregoing with the Clerk

 of Court using the CM/ECF system. I will then send the document and a notification of such filing

 (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:

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                                               s/ Michael R. Dziuban
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                                               Data Services, Inc.




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